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UN|TED STATES OF A|VlEFllCA, ' CL£{,;'}~\ fn d ,;pH§g
Plaintifi,
VS.
CFt. NO. 05-20192-B
HERNANDEZ FlODFilGUEZ,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29, 2005l at 9:30 a.m., in Courtroom 1, 11th F|oor of the

Federa| Building, |Vlemphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional

time to prepare outweigh the need foil a speEdy trial.
|T lS SO OHDERED this l day oi-del¥, 2005.

 

. D NlEl_ BREEN \
uNl Eo sTATEs DlsTFilcT JUDG.E

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20192 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

